          Case 3:11-cr-01973-DMS                        Document 102                  Filed 02/17/12              PageID.557               Page 1 of 2
                                                                                                                                    FILED
     'AD 245B (CASDl (Revo 12/11) Judgment in a Criminal Case
               Sheet I                                                                                                               FEB 1 7 2012
                                                                                                                              ClERK US DISTRICT COURT
                                               UNITED STATES DISTRICT COURT 1~;RNDISTRICTOFCAL~~ui¢
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                                           -,
                     UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                         v.                                        (For Offenses Committed On or After November I, 1987)

                     CARLOS CARRERA-DURAN (2)                                      Case Number: IICRI973-DMS
                                                                                    Robert H Rexrode III CIA
                                                                                   Defendant's Attorney
    REGISTRATION NO. 25664298

    D
    THE DEFENDANT:
    181 pleaded guilty to count(s) 1 of the Superseding Information
     D    was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
    Title & Section                           Nature of Offense                                                                            Number(s)
8 USC 1325                            ILLEGAL ENTRY (Misdemeanor)                                                                           Is




        The defendant is sentenced as provided in pages 2 through _ _.:2~_ ofthis judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 19&4.
 D    The defendant has been found not gUilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 181 Count(s) in underlying Indictment dismissed on defense motion.                  is DareD dismissed on the motion ofthe United States.
  ~ Assessment: $ I 0.00 ordered waived.


  [8] Fine waived.                                  D Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                               FEBRUARY 17,2012




                                                                              HON. DANA M. SABRAW
                                                                               UNITED STATES DISTRICT JUDGE

                                                                                                                                                 llCRI973-DMS
      Case 3:11-cr-01973-DMS                        Document 102           Filed 02/17/12      PageID.558           Page 2 of 2


AO 2458 (CASD) (Rev. 12111) Judgment in a Criminal Case
            Sheet 2 ~ Imprisonment

                                                                                             Judgment ~ Page _ _2_ of        2
 DEFENDANT: CARLOS CARRERA-DURAN (2)
 CASE NUMBER: llCR1973-DMS
                                                          IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         SIX (6) MONTHS. (TIME SERVED AS OF FEBRUARY 17,2012)



    o    Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:


    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
        Oat                              Oa.m.       o p.m. on _ _ _ _ _ _ _ _ _ __
               as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before ------------------------------------------------------------------------
        o as notified by the United States Marshal.
          o    as notified by the Probation or Pretrial Services Office.



                                                                RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                  to

 at ________________________ , with a certified copy of this judgment.


                                                                                            UNITED STATES MARSHAL

                                                                      By ________________________________
                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                                    11CR1973-DMS
